Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 1 of 50




  EXHIBIT A
      Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 2 of 50




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

MWK RECRUITING, INC.

            Plaintiff,
                                                Civil Action No. 1:18-cv-00444
      v.

EVAN P. JOWERS, YULIYA
VINOKUROVA, ALEJANDRO VARGAS,
and LEGIS VENTURES (HK) COMPANY
LIMITED (aka Jowers / Vargas),

            Defendants.


EVAN P. JOWERS

            Counterclaimant,

      v.

MWK RECRUITING, INC., ROBERT E.
KINNEY, MICHELLE W. KINNEY,
RECRUITING PARTNERS GP, INC.,
KINNEY RECRUITING LLC, COUNSEL
UNLIMITED LLC, and KINNEY
RECRUITING LIMITED

            Counter-defendants.


                   NOTICE OF SUBPOENA OF ABOVE THE LAW

To:   MWK RECRUITING INC. (also known as COUNSEL HOLDINGS INC.), ROBERT E.
      KINNEY, MICHELLE W. KINNEY, RECRUITING PARTNERS GP, INC., KINNEY
      RECRUITING LLC, COUNSEL UNLIMITED LLC, and KINNEY RECRUITING
      LIMITED, by and through their attorneys, Tristan C. Loanzon, Esq., Loanzon LLP, 1345
      Avenue of the Americas, 2nd Floor, New York, NY 10105, tristan@loanzon.com;
      Raymond W. Mort, III, The Mort Law Firm, PLLC, 100 Congress Avenue, Suite 200,
      Austin, Texas 78701, raymort@austinlaw.com; and Robert E. Kinney, 824 W. 10th
      Street, Suite 200, Austin, Texas 78701, robert@kinneyrecruiting.com




                                                                                        1
       Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 3 of 50




       Please take notice that the attached Subpoena to Testify at a Deposition in a Civil Action

is being served upon Above the Law (c/o Breaking Media, Inc.).


DATED: February 2, 2021                            TAULER SMITH LLP

                                                   By:    /s/ Robert Tauler
                                                    Robert Tauler, Esq.
                                                   Texas State Bar No. 24122095
                                                   rtauler@taulersmith.com
                                                   Tauler Smith LLP
                                                   100 Congress Ave., Suite 2000,
                                                   Austin, TX 78701
                                                   Telephone: (512) 456-8760

                                                   COUNSEL FOR DEFENDANT
                                                   AND COUNTERCLAIMANT
                                                   EVAN P. JOWERS




                                               2
                                                                                               2
                     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 4 of 50

 AO 88A (Rev.    /    ) Subpoena to Testify at a Deposition in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                                for the
                                                          __________ District
                                                               Western        of __________
                                                                        District  of Texas
                     MWK RECRUITING, INC.
                                                                                   )
                                 Plaintiff                                         )
                                    v.                                             )      Civil Action No. 1:18-cv-00444
      EVAN P. JOWERS, YULIYA VINOKUROVA,
                                                                                   )
    ALEJANDRO VARGAS, and LEGIS VENTURES
    (HK) COMPANY LIMITED (aka Jowers / Vargas)                                     )
                                Defendant                                          )

                               SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
                                                                    Above The Law
  To:                                                  c/o Breaking Media, Inc., Attn: John Lerner
                                                 611 Broadway, Suite 907D, New York, New York 10012
                                                          (Name of person to whom this subpoena is directed)

        ✔


                       See Attachment A

  Place: Planet Depo                                                                       Date and Time:
            77 Water Street, Suite 800                                                        February 18, 2021; 12 noon (Eastern)
            New York, NY 10005
                                                                                 Stenographically and Videographically
            The deposition will be recorded by this method:

        ✔ Production:     You, or your representatives, must also bring with you to the deposition the following documents,
            electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
            material: See Attachment B




        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.
         February 1, 2021
 Date:
                                     CLERK OF COURT
                                                                                             OR

                                             Signature of Clerk or Deputy Clerk                                Attorney’s signature

 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
 Evan P. Jowers
                                                                         , who issues or requests this subpoena, are:
Robert Tauler, Tauler Smith LLP, 626 Wilshire Blvd, Ste 510, Los Angeles, CA 90017; rtauler@taulersmith.com;
213-927-9270
                                 Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).

                                                                                                                                      3
                   Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 5 of 50

AO 88A (Rev. 2/      ) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.
                      1:18-cv-00444

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                         .

                I served the subpoena by delivering a copy to the named individual as follows:


                                                                                        on (date)                     ; or

                I returned the subpoena unexecuted because:
                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                       .

My fees are $                                       for travel and $                        for services, for a total of $   0.00     .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server’s signature



                                                                                             Printed name and title




                                                                                                Server’s address

Additional information regarding attempted service, etc.:




        Print                           Save As...                   Add Attachment                                          Reset4
                   Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 6 of 50


AO 88A (Rev. 2/       ) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                  (i) disclosing a trade secret or other confidential research, development,
                                                                                    or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                      (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                   not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or                study that was not requested by a party.
regularly transacts business in person; or                                             (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly         described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                         modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                       conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial                (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                            otherwise met without undue hardship; and
                                                                                         (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or               (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                              (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                      procedures apply to producing documents or electronically stored
                                                                                    information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                            (A) Documents. A person responding to a subpoena to produce documents
                                                                                    must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney               must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps              (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the                If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must              information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include              which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who                (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                    person responding need not produce the same electronically stored
                                                                                    information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                                (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                       responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to             from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of        of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,          order, the person responding must show that the information is not
hearing, or trial.                                                                  reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible              made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated        requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or             26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.         (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for             (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,        under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                          material must:
     (i) At any time, on notice to the commanded person, the serving party               (i) expressly make the claim; and
may move the court for the district where compliance is required for an                  (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                          tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the         privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from         (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                      subpoena is subject to a claim of privilege or of protection as
                                                                                    trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                              that received the information of the claim and the basis for it. After being
                                                                                    notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where             information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                        until the claim is resolved; must take reasonable steps to retrieve the
                                                                                    information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                                present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits                compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                            produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no       resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                        (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a               The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on           motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                                who, having been served, fails without adequate excuse to obey the
                                                                                    subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                                            5
      Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 7 of 50




                                  ATTACHMENT A
                                    DEFINITIONS
      1.     The terms “YOU” or “YOUR” or “RESPONDING PARTY” refers to
the Responding Party, Breaking Media, Inc., as well as subsidiaries and affiliates
such as Above the Law, as well as agents, employees, officers, representatives,
consultants, experts or other persons acting on behalf of RESPONDING PARTY
or under its control, directly or indirectly.
      2.     The term “KINNEY” shall mean Robert Kinney, including any
aliases, agents, attorneys, employees, officers, representatives, or other persons
acting on behalf of KINNEY, either directly or indirectly. .
      3.     The term “KINNEY ENTITIES” shall refer to the recruiting firm
generally known as Kinney Recruiting as well as various companies which it has
operated under, including Counsel Holdings, Inc., Counsel Unlimited LLC, Kinney
Recruiting Ltd., Kinney Overseas, Ltd. MWK Recruiting, Inc., Kinney Recruiting
LLC, Recruiting Partners GP, Inc., Recruiting Partners LP, Kinney Recruiting LP
and any other entity controlled of managed by ROBERT KINNEY from which
YOU have been provided legal recruiting services.
      4.     The term “JOWERS” means Evan P. Jowers, including his
employees, associates, partners and legal representatives.
      5.     The term “JOWERS ENTITIES” shall mean Jowers Vargas and Legis
Ventures.
      6.     The term “JOWERS LITGATION” shall mean the matter of MWK
Recruiting, Inc. v. Jowers, pending in the Western District of Texas (Case No.
1:18-cv-00444), including all appeals and related lawsuits between the KINNEY
ENTITIES and JOWERS.




ATTACHMENT A TO SUBPOENA OF ABOVE THE LAW                                        1
                                                                                     6
     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 8 of 50




      7.    The term TAULER shall mean counsel for JOWERS in the JOWERS
LITIGATION, Robert Tauler, Esq. and Tauler Smith LLP.
      8.     The term “DECEMBER 2020 PIECE” shall refer to the December 22,
2010 blog post published on your website, www.abovethelaw.com titled “Judge
Writes, ‘To Say That This Case Is Trouble Is Like Saying 2020 Has Been
Difficult” attached hereto as Exhibit A.
      9.    The term “APRIL 2020 PIECE” shall refer to the article YOU
published on April 29, 2020 titled “Kirkland & Ellis Ripped In Blistering
Benchslap” attached hereto as Exhibit B.
      10.   The term “BARNES PIECE” shall refer to the article “Legal Recruiter
Fails To Understand Hiring Process, Basic Social Conventions” originally
published on YOUR website abovethelaw.com or around March 13, 2013, a
version of which is attached as Exhibit C.
      11.    The term “HONG KONG PIECE” shall refer to the article titled
“Kinney’s Evan Jowers Now Permanently Based In Hong Kong” originally
published on YOUR website abovethelaw.com or around June 17, 2015, a version
of which is attached as Exhibit D.
      12.    The terms “PERSON” or “PERSONS” shall include a natural person,
firm, association, organization, partnership, business, trust, limited liability
company, corporation, or entity of any sort.
      13.    The terms “COMMUNICATION” or “COMMUNICATIONS” shall
mean any transmission of information of any sort whatsoever by one or more
PERSONS to one or more PERSONS and/or between one or more PERSONS, by
any means whatsoever, including but not limited to text messages, emails, chat
software such as slack or gmail chat, phone logs, and notes of conversations.
      14.    The    terms   “REFERRING”        “RELATE,”       “RELATING,”      or
“RELATED,” as used herein shall mean, in addition to the customary and usual



ATTACHMENT A TO SUBPOENA OF ABOVE THE LAW                                       2
                                                                                     7
     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 9 of 50




meaning of those words, constituting, mentioning, reflecting, referring,
embodying, identifying, concerning, discussing, memorializing, describing,
summarizing, or pertaining to the subject matter of the Request.
      15.    Any defined term, whether capitalized or not, shall have the meaning
given in the definition.
                             TOPICS FOR DEPOSITION
      1.     COMMUNICATIONS between YOU and KINNEY RELATING to
the JOWERS LITIGATION.
      2.     COMMUNICATIONS            between    Joe    Patrice   and   KINNEY
RELATING to the JOWERS LITIGATION.
      3.     COMMUNICATIONS between YOU and KINNEY RELATING to
the DECEMBER 2020 PIECE.
      4.     COMMUNICATIONS            between    Joe    Patrice   and   KINNEY
RELATING to the DECEMBER 2020 PIECE.
      5.     COMMUNICATIONS between Joe Patrice and KINNEY related to
JOWERS, from December 16, 2016 to the present.
      6.     Any and all independent research conducted by YOU regarding the
JOWERS LITIGATION.
      7.     Any and all independent research conducted by Joe Patrice regarding
the JOWERS LITIGATION.
      8.     All research conducted to support the statements made in the
DECEMBER 2020 PIECE.
      9.     All facts supporting YOUR decision to publish the DECEMBER 2020
PIECE.
      10.    All of the reasons YOU did not attempt to contact JOWERS or
TAULER prior to publishing the DECEMBER 2020 PIECE.




ATTACHMENT A TO SUBPOENA OF ABOVE THE LAW                                      3
                                                                                    8
     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 10 of 50




      11.    All COMMUNICATIONS between Joe Patrice and any third party
REFERRING to the JOWERS LITIGATION from December 16, 2016 to the
present.
      12.    YOUR investigation and publication of the APRIL 2020 PIECE.
      13.    YOUR investigation and publication of the BARNES PIECE.
      14.    YOUR understanding of the defamation lawsuit between KINNEY
and Harrison Barnes that was pending when YOU published the BARNES PIECE.
      15.    YOUR decision to remove the “HONG KONG PIECE” from YOUR
website.
      16.    Who decided to remove the “HONG KONG PIECE” from YOUR
website.
      17.    The removal of any content from YOUR website relating to JOWERS
after December 16, 2016.
      18.    All compensation provided by the KINNEY ENTITIES to YOU from
January 1, 2017 to the present.
      19.    All offers of compensation or the offer of any other benefits made by
KINNEY to Joe Patrice in exchange for publication of content on YOUR website.
      20.    The process by which YOUR editors select content to publish.
      21.    The process by which YOU decide to remove content from YOUR
website.
      22.    Whether KINNEY has ever requested that you remove content from
YOUR website.
      23.    Whether YOU complied with KINNEY’s request.
      24.    The reasons why YOU complied with KINNEY’s request.
      25.    YOUR investigation regarding the KINNEY LITIGATION before
removing content from YOUR website.




ATTACHMENT A TO SUBPOENA OF ABOVE THE LAW                                       4
                                                                                     9
     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 11 of 50




                                  ATTACHMENT B
                                    DEFINITIONS
      1.     The terms “YOU” or “YOUR” or “RESPONDING PARTY” refers to
the Responding Party, Breaking Media, Inc., as well as subsidiaries and affiliates
such as Above the Law, as well as agents, employees, officers, representatives,
consultants, experts or other persons acting on behalf of RESPONDING PARTY
or under its control, directly or indirectly.
      2.     The term “KINNEY” shall mean Robert Kinney including any aliases,
agents, attorneys, employees, officers, representatives, or other persons acting on
behalf of KINNEY, either directly or indirectly.
      3.     The term “KINNEY ENTITIES” means any and all entities owned by
or controlled by Robert E. Kinney and/or Michelle W. Kinney, including without
limitation, including Counsel Holdings, Inc., Counsel Unlimited LLC, Kinney
Recruiting Ltd., Kinney Overseas, Ltd. MWK Recruiting, Inc., Kinney Recruiting
LLC, Recruiting Partners GP, Inc., Recruiting Partners LP, Kinney Recruiting LP
and any other entity controlled of managed by ROBERT KINNEY from which
YOU have been provided legal recruiting services.
      4.     The term “JOWERS” means Evan P. Jowers, including his
employees, associates, partners and legal representatives.
      5.     The term “JOWERS ENTITIES” shall mean Jowers Vargas and Legis
Ventures.
      6.     The term “JOWERS LITGATION” shall mean the matter of MWK
Recruiting, Inc. v. Jowers, pending in the Western District of Texas (Case No.
1:18-cv-00444), including all appeals and related lawsuits between the KINNEY
ENTITIES and JOWERS.




ATTACHMENT B TO SUBPOENA OF ABOVE THE LAW                                        1
                                                                                  10
     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 12 of 50




         7.      The term TAULER shall mean counsel for JOWERS in the JOWERS
LITIGATION, Robert Tauler, Esq. and Tauler Smith LLP.
         8.      The term “DECEMBER 2020 PIECE” shall refer to the December 22,
2010 blog post published on your website, www.abovethelaw.com titled “Judge
Writes, ‘To Say That This Case Is Trouble Is Like Saying 2020 Has Been
Difficult” attached hereto as Exhibit A.
         9.      The term “APRIL 2020 PIECE” shall refer to the article YOU
published on April 29, 2020 titled “Kirkland & Ellis Ripped In Blistering
Benchslap” attached hereto as Exhibit B.
         10.     The term “BARNES PIECE” shall refer to the article “Legal Recruiter
Fails To Understand Hiring Process, Basic Social Conventions” originally
published on YOUR website abovethelaw.com or around March 13, 2013, a
version of which is attached as Exhibit C.
         11.     The term “HONG KONG PIECE” shall refer to the article titled
“Kinney’s Evan Jowers Now Permanently Based In Hong Kong” originally
published on YOUR website abovethelaw.com or around June 17, 2015, a version
of which is attached as Exhibit D.
         12.     The terms “DOCUMENTS” is defined to be synonymous in meaning
and equal in scope to the usage of this term in Federal Rule of Civil Procedure
34(a).        Documents include handwritten and/or typed notes and/or handwritten
and/or typed entries in computer software, handheld devices, social media
networks, emails, chat services, computer discs, personal diaries, business diaries,
calendars and/or appointment calendars that evidence, refer or relate to the subject
matter of each Request herein.
         13.     The term “PERSON” refers to any natural person, firm, corporation,
unincorporated association, partnership or other form of legal entity or
governmental body, including its agents and representatives.



ATTACHMENT B TO SUBPOENA OF ABOVE THE LAW                                          2
                                                                                    11
     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 13 of 50




      14.    The terms “CONCERNING” or “REFLECTING” or “RELATING
TO” shall mean relating to, referring to, concerning, reflecting, describing,
evidencing or constituting.
      15.    “REQUESTS” shall mean these Requests for Production of
Documents.


                                INSTRUCTIONS
      1.     These Instructions and Definitions require responses based upon the
information available to Responding Party as well as its attorneys, representatives,
investigators, and others acting on Your behalf or under Your control. These
requests include any and all relevant documents within Your possession, custody,
or control, including, without limitation, documents located in the personal files of
any and all past and present directors, officers, agents, representatives, employees,
attorneys, accountants, or others under Your control.
      2.     A Document is within Responding Party’s possession, custody, or
control if You are able to obtain a copy with a reasonable expenditure of time,
effort, expense, or influence. See In re Wells, 426 B.R. 579 (N.D. Tex. 2006)
(citing Resolution Trust Corp. v. Deloitte & Touche, 145 F.R.D. 108, 110 (D. Colo.
1992) (citing cases from various circuits)); Southern Filter Media, LLC v. Halter,
2014 U.S. Dist. LEXIS 120837, 14-15 (M.D. La. Aug. 29, 2014) (“Documents are
deemed to be within the ‘possession, custody or control’ of a responding party if
that party either has ‘actual possession, custody or control’ of the documents or if
that party ‘has the legal right to obtain the documents on demand or has the
practical ability to obtain the documents from a non- party to the action.’ ”(citing
Estate of Monroe v. Bottle Rock Power Corp., No. 03 2682, 2004 U.S. Dist.
LEXIS 5737, 2004 WL 737463, at *10 (E.D. La. April 2, 2004)).




ATTACHMENT B TO SUBPOENA OF ABOVE THE LAW                                          3
                                                                                    12
     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 14 of 50




      3.     If Responding Party is truly unable to produce a responsive document,
state in writing why; if the inability to produce the Document or the property is
because it is not in Your actual physical possession or the possession of a person
from whom You could obtain it, state the name, address, and telephone number of
any person You believe may have the original or a copy of any such Document.
      4.     If Responding Party objects to any portion or any aspect of any
Request, state the grounds of the objection with specificity and respond to the
remainder of the Request as fully as the Responding Party is able.
      5.     If Responding Party intends to object to any Request on the ground
that it is overbroad or unduly burdensome for any reason, You must respond to that
Request as narrowed to the least extent necessary, in Your judgment, to render it
not overbroad or unduly burdensome and You must state specifically the extent to
which You have narrowed that Request for purposes of Your limited understanding
and You must provide the factual basis for Your conclusions. See McLeod,
Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990)
(citation omitted); Acme Truck Line v. Gardner, 2014 U.S. Dist. LEXIS 164849, 4-
5 (S.D. Tex. Nov. 25, 2014) (“For good cause to exist, the party seeking to limit
the disclosure must make more than conclusory allegations that specific prejudice
or harm will result if no protective order is granted.”); Gordon v. Greenville Indep.
Sch. Dist., 2014 U.S. Dist. LEXIS 162729 (N.D. Tex. Nov. 20, 2014) (“A party
resisting discovery must show specifically how each request is not relevant or
otherwise [is] objectionable).
      6.     If, in answering these Requests, Responding Party encounters any
ambiguities when construing a Request, Instruction, or Definition, set forth the
matter deemed ambiguous and the construction You used in responding.




ATTACHMENT B TO SUBPOENA OF ABOVE THE LAW                                          4
                                                                                    13
     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 15 of 50




      7.     For any responsive Documents or tangible things that have been lost,
destroyed, or withheld from production based on any ground, provide a written
statement setting forth:
      a.     the identity of the document(s);
      b.     the nature of each document (e.g., letter, memorandum, chart);
      c.     the identity of the person(s) who received copies of the document;
      d.     the date of the document;
      e.     a brief description of the subject matter of the document; and
      f.     the circumstances of the loss or destruction and any fact, statute, rule,
      or decision upon which You rely in withholding the document.
      8.     Where Responding Party asserts any privilege or immunity in
responding or objecting to any of these requests and information is not provided on
the basis of such assertion, identify the nature of the privilege or immunity. When
any privilege is claimed, You must indicate, as to the information requested,
whether: (i) any documents exist; or (ii) any communications took place; and (iii)
also provide the following information for each such document in a “privileged
documents log” or similar format:
      a.     the type of document;
      b.     the general subject matter of the document;
      c.     the date of the document;
      d.     the author(s) of the document;
      e.     the addressee(s) and any other recipient(s) of the document; and
      f.     the custodian of the document, where applicable.
      9.     If responsive Documents are maintained in a file, the file folder itself
is responsive and should be produced along with the responsive Documents.
      10.    All Documents requested are to be produced in the same file or other
organizational environment in which they are or were maintained. For example, a



ATTACHMENT B TO SUBPOENA OF ABOVE THE LAW                                                5
                                                                                          14
     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 16 of 50




Document that is part of a file, docket, or other grouping, should be physically
produced together with all other Documents from said file, docket, or grouping, in
the same order or manner of arrangement as the original. Alternatively, as to each
Document and thing produced in response hereto, You shall identify the Request
for production in response to which the Document or thing is being produced.
      11.    These requests seek all responsive Documents in their original
language and, if such original language is not English, these Requests also seek all
English-language translations that may exist for any such Documents.
      12.    Each Document is to be produced along with all drafts, without
abbreviation or redaction.
      13.    These Requests are continuing; You are required to supplement Your
responses at least in accordance with Rule 26(e) of the Federal Rules of Civil
Procedure.
             REQUESTS FOR PRODUCTION OF DOCUMENTS
      1.     All COMMUNICATIONS between YOU and KINNEY RELATED
TO the original version of the DECEMBER 2020 PIECE, published on December
22, 2020.
      2.     All   COMMUNICATIONS             between     YOU      and    KINNEY
REFERRING or RELATED TO any and all changes you made to DECEMBER
2020 PIECE after its original publication.
      3.     All COMMUNICATIONS between YOU and any third party relating
to the statements YOU made in the DECEMBER 2020 PIECE.
      4.     All DOCUMENTS demonstrating any investigation YOU conducted
before pubishing the DECEMBER 2020 PIECE.
      5.     All COMMUNICATIONS between YOU and KINNEY RELATED
TO the APRIL 2020 PIECE.




ATTACHMENT B TO SUBPOENA OF ABOVE THE LAW                                         6
                                                                                   15
     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 17 of 50




      6.       All COMMUNICATIONS between YOU and KINNEY RELATED
TO the BARNES PIECE.
      7.       All COMMUNICATIONS between YOU and KINNEY from
December 16, 2016 and the present related to JOWERS.
      8.       All COMMUNICATIONS between YOU and KINNEY RELATED
to the removal from your website of the HONG KONG PIECE.
      9.       All COMMUNICATIONS between YOU and KINNEY from
December 16, 2016 and the present related to the removal of content from YOUR
website www.abovethelaw.com REFERRING or RELATING TO JOWERS.
      10.      All COMMUNICATIONS between YOU and KINNEY from May 1,
2020 to the present RELATED TO TAULER.
      11.      All COMMUNICATIONS between YOU and KINNEY which
REFER or RELATE TO the JOWERS LITIGATION.
      12.      All COMMUNICATIONS between YOU and any third party that
REFER or RELATE to the JOWERS LITIGATION from December 16, 2016 to
the present.
      13.      All COMMUNICATIONS between Joe Patrice and any third party
that REFER or RELATE to the JOWERS from December 16, 2016 to the present
      14.      All emails sent to tips@abovethelaw.com from December 16, 2016 to
the present REFERRING or RELATING to JOWERS.
      15.      All emails sent to tips@abovethelaw.com from May 1, 2020 to the
present REFERRING or RELATING to TAULER.
      16.      All emails sent to tips@abovethelaw.com from December 16, 2016 to
the present REFERRING or RELATING to the JOWERS LITIGATION.
      17.      All texts sent to (646) 820-8477 from December 16, 2016 to the
present RELATING TO JOWERS.




ATTACHMENT B TO SUBPOENA OF ABOVE THE LAW                                      7
                                                                                16
     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 18 of 50




      18.    All texts sent to (646) 820-8477 from May 1, 2020 to the present
RELATING TO TAULER.
      19.    All texts sent to (646) 820-8477 from December 16, 2016 to the
present RELATING TO the JOWERS LITIGATION.
      20.    DOCUMENTS sufficient to show how much money the KINNEY
ENTITIES paid to YOU from January 1, 2017 to the present on a monthly,
quarterly, and yearly basis.




ATTACHMENT B TO SUBPOENA OF ABOVE THE LAW                                   8
                                                                             17
Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 19 of 50




      !
      !
  EXHIBIT!A!
!   !




                                                                   18
                                                                   MENU




                                                                                                                    19
                                                                     Send Tips   Advertise About
Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 20 of 50




          COURTS
          J                                                                  W    , T Sa T a T     Ca   I T   I L
          Sa                                                                 2020 Ha B    D
          Things promptl go do nhill for defendant from there.
          B JOE PATRICE
          Dec 22, 2020 at 2:14 PM
                                                                                                          X
                                                                   MENU




                                                                                                                                                                                                                                  20
Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 21 of 50




                                                          I fai            e          Magi      a e J dge A d e           A           i        hi ca e a d hi               ha e g         e ha d i        ha d
                                                          Back i A                 il he j dge had             be ch la Ki kla d                    Elli i        bli i     f               l     ef     i g        c m l     i ha
                                                                   im le hi d         a         b     e a b          he ha i g he a daci                          dema d fee f              hei           ble The            ld
                                                                   ecei e hem b               he j dge          ld       e ha             K E h         ld be emba a ed
                                                          B            J dge A        i       l had          deal    i h K E beca                e he defe da             claimed he did             c         la     mbe     f
                                                          d c me                   held b       he ec        i i gc m a            he          he     i e eem                   La         eek J dge A             i had     deal
                                                                    i h he         de l i g di c         e     di     e i          l i g he defe da                 a di        a            e
                                                          I deed               e          a      e           d he j dge       ed U                  fe i     al     a a         he
                                                          S le             di e back i              he        ld f MWK            J        e     a di        e be    ee      he a i             Ki       e Rec       i i g
                                                          e i ie               a df       me em l            ee E a J         e           a d ee h           hi g a e g i g f              J dge A         i
                                                                                                                                                                                     X
                                                          Af e             a    i g he defe da               i Ma        make g                d fai h eff           c m l           i h          a di g di c          e
                                                                   e   e       he i       ead       ed hi a          e    f       m DLA Pi e a d b                  gh          R be       Ta le          h    e     ma      ea
                                                                       be he defe da            i a RICO ma e          e he bal dick ill       igh            beca     e     h           a d       m l
                                                                    led eigh
                                                                   MENU             m i         a gi g f   ma e i gi            igh         i hh ld h ee ea           ld e       e ed d c me           a
                                                                   e    i i e       ade ec e           dema di g       h         f e im        f    m he ame e               MWK al        led




                                                                                                                                                                                                           21
                                                          m i                   f         ec i e     de    decided i       hi    de
Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 22 of 50




                                                          T             he f        me     i    J dge A     i did hi be         i e     eai         f he Ch i R ck li e Thi i             D    a
                                                                        ka      he h          ec m a
                                                                                If this ere a patent suit, and Kinne and Jo ers ere the principals of rival chip manufacturers, these
                                                                                    ould be serious issues, deserving of a careful revie and anal sis. But this isn t a patent suit, and
                                                                                Kinne and Jo ers are not the principals of competing chip manufacturers the re the principals of
                                                                                a                             and the material at issue is, at best, marginall sensitive and is three ears
                                                                                old. Given all of this, there is simpl no good reason an court should have to delve into precisel ho
                                                                                much of the material Kinne should be permitted to see. Instead, this is the ver sort of issue attorne s
                                                                                    orking in good faith should ork out.
                                                          I            ha d         imagi e a i d           a fa       aced a a         e     ec    i i g    he e he j b a e         a   ed
                                                                       ickl B             e         claim ha email ab            a em l       me      be e        e i gf         m       a e       e
                                                                   e    i i e
                                                          A f                he de        i i      Ta le    led m i         f    a ci        af e    he lai iff failed           a   ea a a ai         f
                                                                                                                                                                  X
                                                          de              i i         E ce
                                                                                In both instances, the depositions ere scheduled b Jo ers unilaterall , after being told that the
                                                                   MENU
                                                                                proposed dates ere unavailable or that a itness ould not be there. At bottom, the dispute




                                                                                                                                                                                                                            22
                                                                                revolves around the fact that there are ve MWK entities that are parties to the case MWK (the
                                                                                plaintiff), as ell as Counsel Unlimited LLC, Kinne Recruiting LLC, Kinne Recruiting Limited, and
Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 23 of 50




                                                                                Recruiting Partners GP, Inc. (all of hom Jo ers sued in his counterclaim). Tauler has informed MWK
                                                                                that, in addition to deposing Kinne individuall , he also intends to take a deposition of each entit , for
                                                                                    hich Kinne           ill be the corporate representative. Based on this, Tauler has unabashedl insisted that
                                                                                he is entitled to take si depositions, each seven hours in length. With no hint of shame, Tauler
                                                                                recounts that hen the topic of the depositions as discussed, Kinne                              requested an agreement b
                                                                                Jo ers to limit the number of those depositions b combining and consolidating them so that,
                                                                                Kinne          ould not need to be deposed for a separate, seven-hours long da for each of the ve
                                                                                named entities. Jo ers s counsel told him . . . that no such agreement ould be acceptable.
                                                          S fa                 e eg             e        a d           fe i    al a d         i h        hi   f hame A e he e a                he        i       hi
                                                                   age         de    Well       e ha e ab              di     ab       i e a d           a a ed    failed          ide a       c l       able
                                                          a g me                         h le ale lack f a             e ide ce         g e         fa        e   ec la i   a dc            i ac        he        i i g
                                                          a d a                 ime e am le f h                   fa be       d he ale M Ta le ha g                e i hi ab       e f di c         e        i    hi ca e
                                                          I           afe           a     hi g a e             g i g g ea f        J     e    a d Ta le I fac J dge A              i   e i i       Ta le                  hac
                                                                   ice admi i             a d dema d              ha l cal c            el be added           e i e Ta le              ha   he          igi al DLA
                                                          Pi e a                     e     ha e          i hd a
                                                                                                                                                                            X
                                                          B               ha             e e        he            fi
                                                                                The conduct b Mr. Jo ers and Mr. Tauler evidenced in the ten motions addressed here is deplorable.
                                                                   MENU
                                                                                It is the essence of hat makes the public have lo regard for la                           ers. It is pett , and unprofessional.




                                                                                                                                                                                                                          23
                                                                                And, most importantl , it has diverted the scarce judicial resources of this Court from disputes far more
                                                                                deserving of the Court s time. In Ma , Jo ers and Tauler ere arned that there ould be
Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 24 of 50




                                                                                consequences for continuing the conduct the Court as alread seeing at that point. Rather than
                                                                                correcting things, the both doubled do n and increased their abusive approach to this case.
                                                                                Accordingl , no later than Ja           a         5, 2021, both Jo ers and Tauler shall le a ritten brief sho ing
                                                                                cause h the should not both be sanctioned for the costs the have caused the Plaintiff and
                                                                                Counter-Defendants to incur to respond to the baseless motions disposed of here.
                                                          J dge a e ge e all                       le ie             he i c me               a ci        i g bad beha i           The e i a cla     f li iga            h
                                                                   ee      he      ce      a a i      i ai            e gage i         a     fa         i i     ha demea          he   h le       em a d he feel
                                                                   he ca ge a a              i h i beca          e          e      a          ll he           igge       a ci          A d ma be J dge A           i
                                                                    ill    a hi ha d he e              b     i       clea    ha if he did           i          ld be c     i ge           e e ha i g           e    l e
                                                          a               he di         e like hi f      m he a ie
                                                          Ma be i                  ime f     he e f lk           la     ff he he bal male e ha ceme                       ill I          ible ha    he     e
                                                          cl              di g hei j dgme             UPDATE We ha e bee i f                      med ha                 ea     cia ed    i h Ta le Smi h i
                                                          ac all                aki g he male e ha ceme                     ill        he RICO ca e i ab             Ta le Smi h li iga i           agai           he
                                                                   elle         f he ill
                                                                   F ll     de          he e       age                                                                        X
                                                                   Pe      a dU            fe i    al J dge Th ea e                 Sa c i     i Legal Rec           i e T ade Sec e          Ca e Te a La              e
                                                          Ea lie Ki kla d              Elli Ri        ed I Bli e i g Be ch la
                                                                   MENU




                                                                                                                                                                                               24
                                                                       B mea    f f ll di cl          e Ki       e i al       g ime ad e i e      hi   i e b    ha d e       eall fac      i
Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 25 of 50




                                                                       a al i he e
                                                          J e Pa ice i a e i                edi        a Ab        e he La     a dc      h   f Thi ki g Like A La    e Feel f ee   email a
                                                                   i      e i          c mme             F ll       him       T i e if       e i e e ed i la        li ic a d a heal h d       e
                                                                   f c llege           e      J e al         e e a a Ma agi g Di ec            a RPN E ec i e Sea ch
                                                                                                                             1 2      NE T
                                                          TOPICS
                                                          Courts, Headhunters / Recruiters, Legal Ethics, Legal Recruiting
                                                                                                                                                            X
                                                                   MENU
                                                                                  L               ATL? L '                        a                          a.
                                                                                  S                                                                 .




                                                                                                                                                                                                   25
                                                                          Your email address*                                                                  S
Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 26 of 50




                                                                                   We   ill e e   ell   ha e   i f   ma i   i h       c   e   See       i ac       lic
          FROM THE ABOVE THE LAW NETWORK
          Amid Disaster, Clients &                                                 Industr Report: Survival or              Does The Cloud Offer More                    Ho to Work Remotel With
          La ers Align On Priorities:                                              Evolution Report                         Securit ?                                    Full Matter and Case
          Top 5 Takea a s From The                                                 ABOVE THE LAW AND ABACUSNEXT             THOMSON REUTERS                              Management Functionalit
          2020 Clio Legal Trends                                                                                                                                         ADVOLOGIX
          Report                                                                                                                                         X
          LAWLINE CLE
                                                                   MENU
          Future of Commercial                                                                   Are You Helping Or Hindering Driving E cienc In La Firm                                      Where on Your Priorit List is




                                                                                                                                                                                                                          26
          Contracts 12/18 Webinar                                                                Your Firm s Financial        Accounting                                                      CLE? Tell us in a Flashpoll.
          ABOVE THE LAW AND LAWTRADES                                                            Performance? Qui .           ABOVE THE LAW & PWC                                             ABOVE THE LAW
Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 27 of 50




                                                                                                 ABOVE THE LAW AND PWC
                                                                                                                               NEWSLETTER SIGNUP
                                                                          S b c ibe a d ge b eaki g e       c mme a            a d     i i         la       m la    e     la       ch   l la       i   j dge a d m   e
                                                                                                                                                                               S
                                                                                                 We     ill e e   ell   ha e     i f   ma i      i h        c   e   See        i ac     lic
                                                                                                                        A                    A          N
                                                                                                                                       OUR SITES
                                                                                                                                                                                   X
                                                                   MENU




                                                                                                                                                                                                  27
Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 28 of 50




                                                                          B eaki g Media I c All igh   e e ed Regi   ai    e f hi   i ec   i   e acce a ce f   Te m   f Se ice a d P i ac P lic
                                                                                                                 Do No Sell M Personal nforma ion
                                                                                                                                                           X
    Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 29 of 50




                 !
                 !
             EXHIBIT!B!
!              !




                                                                       28
                         Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 30 of 50
2/1/2021                                                         Ki kla d & Elli Ri ed I Bli e i g Be ch la   Ab e he La




        MENU


            Send Tips           Ad ertise Abo t




             ALK O HE RECR I ERS                          HO ALK O

            DECISION MAKERS
            A     OP FIRMS E ER DA




BIGLAW


K                  a d&E                                 R               ed I B                        e                Be c                       a
Wh do la                     ers ha e to make things di c lt?
B JOE PATRICE


Apr 29, 2020 at 11:47 AM




    The                      aigh f            a d di             ei        he legal ec           i i g          ld i          l e a ec       i e
    j           i gf                e age c                a       he a d al            g he        a allegedl a                       ia e        ade
        ec e        a d i la e                           lici a i         ag ee e              The f           e e         l       e   he         if
        e     l ed a icabl                  ha             le a la           i a d la              all he ec            i i g ac i i          he e
    e         l    ee ha bee d i g i b each f he e bliga i                                                     he f            e            P e
        i       le igh


                                                                                                                                                       29
h       ://ab e hela .c m/2020/04/ki kla d-elli - i   ed-i -bli e i g-be ch la /                                                                            1/7
                              Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 31 of 50
2/1/2021                                                                         Ki kla d & Elli Ri ed I Bli e i g Be ch la        Ab e he La


    Tha                  ha Ki            e Rec                  i i g h               gh                    The           ed a f               e e            l    ee          h
        ef ed
        MENU                  c           l               i h di c           e         a g i g ha he did                       c                l he d c                e            f he
                         ed e                         e e           h     gh he d                   ai       a e f he e                     c          a               a hi          a e
    a d he ig                     all f hei c                            ac            Gi e         hi i          a       ige ce Ki              e al                  b        e aed
    Ki kla d                  Elli            he e he f                          e e           l    ee allegedl                laced e            le i b each f he
        bliga i                      Ki               e Al               e             i       le

    K E decided                               ake i dif c l

    Fi               he        bjec ed                       e ice The                     af e i            a     e e ed                   a    e Will P                  i        bjec ed
            he            b       e a a i g Ki                           e            eeded          ge e e               hi g f                he f               e e          l    ee
    Ki           e        ffe ed                      a             he            b        e ab          e       lai ed ha              he       eeded he e ela i el
    ea                        c      ed c                   e           beca           e he defe da                       a             c        l i g             i h di c           e
    Af e             ef       i g             c            e ae           i ha a                    e        e    e                ice          Ki kla d al                    h ea e ed
            eek fee if Ki                             e     led a                 i            c         el Af e               e            e     a                e ed         lea f
    c            e ai

    Ki           e        led a                   i             c            el




                                                                                  Robert Kinne , Kinne
                                                                                  Recr iting


    K E e lied b clai i g                                               al ead be                   ki g              he e         e        a d a ki g ha                       he
             i           be d             ed Ki                 e ha i g                           bee b              e e da                ef    ed               d            he         i
            il K E                d ced he d c                                e            He e e            ffe ed            d            he             i        if K E                ld
    j                i    la e ha                     he        e e              i g           c         l b          P    i       ef       ed        e e d                    ha a d
    i       ead e                    ded                    he            i                c        el




                                                                                                                                                                                     30
h       ://ab e hela .c m/2020/04/ki kla d-elli - i              ed-i -bli e i g-be ch la /                                                                                                    2/7
                      Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 32 of 50
2/1/2021                                                      Ki kla d & Elli Ri ed I Bli e i g Be ch la   Ab e he La

    U i ed S a e Magi                      a e J dge A d e                      W A      i          h      i    i A      i     hich      e ca
      l a
    MENU               ei             e ki d f                  e                a            lea ed           i h Ki kla d c      d c The
    li e      e          ech ical a d                     e l       a g         e ai e c            e


                   The Co rt co ld not be more disappointed ith the manner in hich K&E has
                   handled this s bpoena. Pr itt s pett , technical, o erl -arg mentati e emails are a
                   st d in hat is rong ith ci il disco er in o r co rt s stem toda . The
                   s bpoena at iss e so ght a er small amo nt of ncontro ersial information.
                   None of it as pri ileged or con dential. MWK had ser ed similar s bpoenas on
                   other BigLa                     rms, all of hich prod ced doc ments itho t objection. K&E s
                   approach, ho e er, as to e ade, complain, and ref se. The fact that these
                   actions ere taken b a la                              rm makes it all the more fr strating. If an one
                   sho ld kno better than to act this a one o ld think it o ld be a la                                                   rm
                   that to ts itself as ha ing la                         ers [ ho] emplo inno ati e pragmatic strategies.
                   There as not a single thing that K&E did to respond to this s bpoena that as
                     pragmatic. Despite the co ntless ho rs Pr itt spent riting emails, K&E
                   e ent all prod ced the req ested doc ments b t it forced MWK to le a
                   motion to compel before it did so. Pr itt co ld ha e sa ed K&E, as ell as MWK,
                   tho sands of dollars in attorne time b being cooperati e p front. Instead, he
                   chose to ght, forcing all parties, the Co rt incl ded, to e pend reso rces
                      nnecessaril .


    Yike Thi                   ld be a ca hi g e                         gh eb ke b            Ki kla d           Elli had al ead decided
         a kf               e ha i g f ll                ed h             gh      P     i          igi al h ea               eek fee f
     e         di g            he           i           c           el     hich Magi           a eA            i f      d a ic la l galli g


                   B t this is not the end of things. Ha ing chosen the st bborn ro te, K&E also
                   a dacio sl req ests that the Co rt a ard                                    the attorne s fees it inc rred in
                   picking this ght. Recall that in the rst eek of Febr ar , Kinne offered to
                   accept as s              cient e actl                 hat K&E nall prod ced t o months later. K&E
                   ref sed, and instead forced Kinne to ait t o months, rite a do en more
                   emails, and then le a motion to compel. Kinne e en repeated that same offer
                   m ltiple times before he led the motion. Yet K&E someho thinks that it sho ld


                                                                                                                                          31
h    ://ab e hela .c m/2020/04/ki kla d-elli - i   ed-i -bli e i g-be ch la /                                                                   3/7
                          Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 33 of 50
2/1/2021                                                         Ki kla d & Elli Ri ed I Bli e i g Be ch la   Ab e he La

                      be a arded attorne s fees. Apparentl it belie es obstinance is something orth
    MENU              re arding. Far from it. If an thing, K&E sho ld co nt itself l ck that MWK did not
                      req est fees from K&E, as the Co rt o ld ha e been inclined to grant them.
                      Beca se MWK did not, the Co rt ill e press its disappro al of K&E s actions onl
                      in ords and not dollars. Either a , K&E sho ld be embarrassed.


    The le                 he e i          he a a                i be di g                 e back a d                 ake c            lia ce a
        ai le         a               ible j          g ahead a d c                    l E i ie like K E al a                                 ab           he
          ecede            he           igh     e c             l i g hi d             a         b      e a         ill        ill b      a he      ha
        gh i          ha        all he                e ea                 each                ac          e ai e a              a dc         e            i h
              e            f      i     la i            ha d          e                 i ileged a d                c          de ial d c          e
          l       a il

    I             e        i      le


    I          h          i g he          h le          i i                    he e            age



           The a                      he ca e i MWK Rec                       i i g b          he di          e i ab            a e       l       ee f he
              e fa ilia Ki               e Rec           i i g B            ea         f f ll di cl           e Ki            e i al      gi e
    ad e i e                     hi      i e b           ha d e                    eall fac        i             a al i he e




    J e Pa ice i a e i                         edi         a Ab           e he La          a dc        h         f Thi ki g Like A La                  e
    Feel f ee                  e ail a         i            e i                    c       e       F ll        hi             T i e if             e
    i e e ed i la                          li ic a d a heal h d                        e f c llege                        e     J e al        e e a a
    Ma agi g Di ec                        a RPN E ec i e Sea ch


                                                                    1 2                NE T




                                                                                                                                                    32
h       ://ab e hela .c m/2020/04/ki kla d-elli - i   ed-i -bli e i g-be ch la /                                                                                 4/7
                      Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 34 of 50
2/1/2021                                                      Ki kla d & Elli Ri ed I Bli e i g Be ch la   Ab e he La




    MENU



    TOPICS

    Benchslap, Bigla , Kinne Recr iting, Kirkland & Ellis, Robert Kinne




                               L           e ATL? Le '  a e   ca.
                               S               f       e e e.
             Yo r email address*                                                                                           S b c be




                                We     ill e e     ell    ha e        i f       ai   i h         c    e    See      i ac    lic




FROM THE ABOVE THE LAW NETWORK




Dri ing E cienc In La                     G ide for S r i ing Yo r Ho to Work Remotel                                   Where on Yo r Priorit
Firm Acco nting                           Remote Firm 2/10          With F ll Matter and                                List is CLE? Tell s in a
ABOVE THE LAW & PWC                       Webinar                   Case Management                                     Flashpoll.
                                          ABOVE THE LAW AND PINGMAN F nctionalit                                        ABOVE THE LAW
                                          TOOLS                                      ADVOLOGIX




F t re of Commercial                      Ind str Report: S r i al Responding To                                        Are Yo Helping Or
Contracts 12/18                           or E ol tion Report      Trademark O ce                                       Hindering Yo r Firm s

                                                                                                                                          33
h    ://ab e hela .c m/2020/04/ki kla d-elli - i   ed-i -bli e i g-be ch la /                                                                      5/7
                     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 35 of 50
2/1/2021                                                     Ki kla d & Elli Ri ed I Bli e i g Be ch la     Ab e he La
Webinar                                  ABOVE THE LAW AND                          Actions: 3 Tips To                    Financial Performance?
ABOVE THE LAW AND                        ABACUSNEXT                                 O ercome Ref sals                     Q i .
LAWTRADES                                                                           LAWLINE CLE                           ABOVE THE LAW AND PWC
    MENU




                                                                NEWSLETTER SIGNUP

             S b c ibe a d ge b eaki g e                        c           e a a d i i                     la           la   e     la   ch   l
                                                                la         i j dge a d              e


                                                                                                                   S b
                               We     ill e e     ell    ha e        i f       ai    i h        c       e   See      i ac     lic




                                                         Do No Sell M Personal nforma ion


                                                         Ad e          e       Ab          Ne       e e


                                                                            OUR SITES




                                                                                                                                                  34
h   ://ab e hela .c m/2020/04/ki kla d-elli - i   ed-i -bli e i g-be ch la /                                                                           6/7
                     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 36 of 50
2/1/2021                                                     Ki kla d & Elli Ri ed I Bli e i g Be ch la       Ab e he La




    MENU




           B eaki g Media I c All igh              e e ed Regi         ai          e f hi    i ec         i     e acce a ce f   Te   f Se ice a d
                                                                            P i ac P lic




                                                                                                                                       35
h   ://ab e hela .c m/2020/04/ki kla d-elli - i   ed-i -bli e i g-be ch la /                                                                    7/7
    Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 37 of 50




                 !
                 !
             EXHIBIT!C!
!             !




                                                                       36
                  Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 38 of 50


  MENU


       Send Tips          Ad ertise Abo t




                                   Do n o n La La G o p
                                   D   ' Pa U e         We Wi . T       I      A          e Th



                                   d         a a .c




HEADHUNTERS / RECRUITERS, INTERVIEW STORIES, JOB SEARCHES, RACISM, SEXISM


L a R                                    Fa           T U                            a
H   P                                  , Ba            S a
C
BCG Attorne Search CEO, Harrison Barnes, nintentionall
demonstrates all the reasons he sho ldn't be in the hiring
b siness.
B JOE PATRICE


Mar 21, 2013 at 1:42 PM                                                                  37
66
                   Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 39 of 50

SHARES
  MENU




                                     Harrison Barnes


 Thi i a h              di ge       f a a icle Ha i                   Ba     e       he Malib          ba ed
 CEO f BCG A                    e Sea ch a d i                 a i         af lia ed c            a ie
 like La C               i ga dE         l       e C             i g ha          e      ed       ha ca
     l be de c ibed a a dia ibe i                         hich he ici            l          ck     a i
 e       l    ee he hi ed f              hei     a ki c               e e ce a d e ba a i g
 f ible

 He al           elec       e hibi a a              l     f aci           e i        agei        a d
 eh          h bic a i          de al        g he       a I       a             i g deg ee f
     e       e     f        e       ei       l ed i       he h        a     e         ce b        i e

 B       he        i e i        al c     ed      h        gh          he iece i             he
  eali a i              ha a ec      i e i f         ci     all ad i i g ha he ha
 idea h           hi i g        k



                                                                                                   38
                     Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 40 of 50
The a icle deligh f ll e i led A                           Face a Re i ed Ac e           a da
H
MENU                Yea Old Re          ec i g Y            elf a d Y       J b begi      f
    hi      e i e


                    This as the c lmination of three bad hires                   one right after
                    another      that el cidated to me that great inter ie ing skills
                    are less important than ho m ch people respect their jobs.


Le         kee        ha i       i da           e     g e


Ba        e kick          ff i   di         bi g de c i i            f hi    a    hi e     i h hi
     e


                    She ore lots of make- p, as q ite hea , ore short skirts
                    and had enormo s breasts that co ld barel be contained
                    b tank tops she ore. I might as ell sa it: She looked like
                    a prostit te and er              ell ma be one. When o            atch the
                    ne s and the sho prostit tes standing in the street at
                    night in short dresses alking p to cars, o ne er see their
                    faces. When I sa her face I imagined that as hat the
                    prostit tes ho alk p to cars look like.


C           a i gaf              e e        l   ee     a     ee    alke          ice I hi k hi
i        eall        fai beca         e f       he ec       d ha     h      e e        ei LA
     e          l     k Zi g I                  a i g         e    e ca     hi k he e 39hi g
                 Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 41 of 50
Ia        a i g ha                e       e        h    eb       i e     de e d                 e     le a i g
 hi g
MENU             ill belie e i                e a d ge           eaj b            babl          h     ld
     blicl a                ce ha he ie                          e f lk a hagga d
     ee     alke        The        i                  he e e           he e a       i               hi a icle
      ld be       ade j        a          ell b         a i g      he        ei a                    ia el
ca    al d e        f       he f ce E e i                        e eali g cl hi g hi                            a
 h     ld      be ed ced                  a             i    e

B         e ej          ge i g            a ed


              One da I as sitting in m o ce and a o ng Pakistani man
                 ith a beard and earing traditional M slim dress (head
              piece and so forth) sho ed p for an inter ie that had
              been sched led. It as 6:00 pm on a Frida night and I as
              the onl one in the o ce. I looked p from hate er I as
              doing and sa him standing in the door a of m o ce. It
              frightened the heck o t of me and he appeared so o t of
              sorts for the area I tho ght he might be there to kill me                                         or I
              might alread be dead.


L      die E gla d called a d he                            a      he      ch ick back He
a     ea ed             f             f           he a ea              d like i     a       i       ed f            a
legal challe ge               acial                   li g I g e        he eall         a           f lk               a
          f hi beach c                        i       Ba    e g e                 de c ibe hi
    a ic la g           a a bi            fac a ki               he i e ie         b        he             ble
he e i      ha Ba           e c           i       e         e eali gl d a           he eade
                                                                                                           40
                 Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 42 of 50
a e i               fac      ha     h       ld be i ele a                    M   li       d       eall
  i
MENU          Malib               hi eb ead de               g a hic                 he       i i g
    ha    he g      had e ible i e ie                     kill           ld      f ce


B         he agai          a be i           Ba    e         h         e e be              ake hi li i g
     i g       ge     e    le hi ed              h ha       e ible i e ie                  kill F            a
diffe e        i e ie                   i    he a e a icle


               At some point in the inter ie , tho gh, e er thing started to
               break do n a bit. I e pressed the fact that I tho ght she
                 o ld do ell and started being er nice to her. I as
               e tremel fr strated abo t ha ing had so man bad
               e periences tr ing to hire for this job. I started being a little
               bit informal       not in an inappropriate a                      j st a little
               informal. I think she took this the rong a .

                 I do not belie e in marriage, she told me. I think that men
               and omen are nat rall inclined to be ith m ltiple
               partners.


I f ll belie e             e e        le a e c i a               b       he Ba            e c      i     e
         ec         ack i e ie               af e         ack i e ie             i              h a ki g
    Ma be he           ble        a               he      he          ide f he de k
Re e be               he Ba       e f            d he M          li      a            ei a             ia e
f        a i e ie         Well Ba            e        e   ahead a d hi ed hi                       a
                                                                                                  41
                Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 43 of 50
 h        e      ff         he     e    al hil         h    id i e ie         I      gge
 he e
MENU      hi      i        i ie lie

A d hi                a          ceed              h        f         k A d he kee
he        beca         e


               Normall , if someone did not sho                 p for their rst da of
                 ork       or acted as inappropriatel as this oman did in the
               inter ie s, I o ld ha e nothing f rther to do ith them.
               Here, ho e er, this oman had an e cellent res me and
               seemed to me the sort of person ho o ld do er                              ell in
               the job.


Ha e          b eak i          a legal ec     i e b             ei e     e        le lie
é         é

The he alk ab                     a e     l   ee   h d bbed hi          elf          id
i e ie            a        A     Face a d a            a he h ca         ed f        b i gi g
he d          g addic ed                 he f ce P         babl i a               ia e          ie
     be       i i g         he         ld b      ha e e J          e e be           he e           e
 a ed


               This as the c lmination of three bad hires                one right after
               another           that el cidated to me that great inter ie ing skills
               are less important than ho m ch people respect their jobs.

                                                                                           42
                Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 44 of 50
 H         e ea          f he e e             le e hibi i g g ea i e ie i g kill
 AMENU
    dI       i cl di g Ba          e           a df         e

 A    Face a Re i ed Ac e                a daH                  Yea Old Re            ec i g
 Y        elf a d Y            J b BCG A             e Sea ch

 66
SHARES




 TOPICS

 BCG Attorne Search, Harrison Barnes, Headh nters / Recr iters, Inter ie Stories, Job Searches,
 La Crossing, Racism, Se ism




                  L              ATL? L '                           a                                a.
                  S                                                                       .
     Yo r email address*                                                       S b              b




          We   ill e e   ell    ha e    i f     ai    i h       c    e   See       i ac       lic




                                                                                                43
             Case
FROM THE ABOVE THE1:21-mc-00194-KPF
                   LAW NETWORK      Document 2-1 Filed 02/17/21 Page 45 of 50


  MENU




E amining Co id-       Ho to Work        F t re of                   Ind str Report:
19-Related             Remotel With F ll Commercial                  S r i al or
Ins rance              Matter and Case   Contracts 12/18             E ol tion Report
Litigation Trends      Management        Webinar                     ABOVE THE LAW AND
LAWLINE CLE            F nctionalit      ABOVE THE LAW AND           ABACUSNEXT
                       ADVOLOGIX              LAWTRADES




Dri ing E cienc        G ide for S r i ing Are Yo Helping            Where on Yo r
In La Firm             Yo r Remote Firm Or Hindering Yo r            Priorit List is CLE?
Acco nting                2/10 Webinar     Firm s Financial          Tell s in a
ABOVE THE LAW & PWC    ABOVE THE LAW AND   Performance?              Flashpoll.
                       PINGMAN TOOLS       Q i .                     ABOVE THE LAW
                                              ABOVE THE LAW AND
                                              PWC




                               NEWSLETTER SIGNUP

         S b c ibe a d ge b eaki g e   c          e a a d i i             la
                     la e la      ch l la        i j dge a d         e            44
              Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 46 of 50

                                                                                        S b
MENU
         We   ill e e   ell   ha e        i f    ai    i h            c    e   See          i ac   lic




                              A                  Ab               N


                                                OUR SITES




       B eaki g Media I c All igh         e e ed Regi        ai           e f hi     i ec      i   e acce a ce
                               f     Te         f Se ice a d P i ac P lic




                              Do No Sell M Personal nforma ion
                                                                                                     45
Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 47 of 50




      !
      !
  EXHIBIT!D!
!   !




                                                                   46
                 Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 48 of 50

                         Scholarly Blog Index


Kinney’s Evan Jowers Now Permanently Based In Hong
Kong


 After a decade of 60+ trips to Hong Kong from his former Miami home,
 our Evan Jowers has finally taken the plunge and moved to Hong Kong
 on a permanent basis. Since ’06, Evan has been head of Kinney’s Asia
 recruiting and over that time Kinney has easily placed more US
 associates, counsels and partners at top tier US and UK firms than any
 other recruiting firm (we have also made many in-house placements).
 Evan will be living and working out of the Four Seasons Place in
 Central for the convenience of our clients. We have a conference room
 facility there for extra discreet meetings, although most of Evan’s
 individual attorney client meetings will continue to be at Blue Bar (as has been the case over the years) down
 in the Four Seasons lobby.
 Now that Evan is in Hong Kong full time, he will be more readily available to meet with and advise in-person
 our law firm and individual attorney clients in Hong Kong. He will also travel much more frequently to
 Shanghai, Beijing, Singapore, Tokyo and Seoul.
 Evan will continue to work closely with US based clients as well.
 As always, please feel free to reach out to asia@kinneyrecruiting.com to arrange a meeting or phone call with
 Evan Jowers, Robert Kinney (who is frequently in Asia) or any of our Asia team (Yuliya Vinokurova, Danielle
 Cyr, Rachel Huey, Jack Hopper and Peter Gutensohn). Even if you are not looking to start a job search for the
 foreseeable future and / or you are only interested in transferring with your own firm to Asia, we are always
 happy to discuss the Asia markets and individual career strategy.

 Copyright:
      © 2015 — Above the Law




 Publication                    Above the Law
                                Behind the scenes look at world of law.

 LC Class                       KF — United States

 Published                      June 17, 2015


                                                                                                    47
             Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 49 of 50
Above The Law

Connect   !+


ISSN 2374-1406                    2018 © ACI Information Group                  Version 1.10.3




                                                                                48
       Case 1:21-mc-00194-KPF Document 2-1 Filed 02/17/21 Page 50 of 50




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 2, 2021, I electronically served the foregoing document

by email, pursuant to agreement of the parties, addressed as follows to counsel of record:


       Robert E. Kinney, Esq.
       824 W. 10th St., Suite 200
       Austin, TX 78701
       robert@kinneyrecruiting.com

       Raymond W. Mort, III, Esq.
       The Mort Law Firm, PLLC
       100 Congress Ave., Suite 2000
       Austin, TX 78701
       raymort@austinlaw.com

       Tristan C. Loanzon, Esq.
       Loanzon LLP
       1345 Avenue of the Americas, 2nd Floor
       New York, NY 10105
       tristan@loanzon.com


                                                             /s/Robert Tauler




                                                3
                                                                                              49
